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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

        Plaintiff,

  v.

  MICHAEL J. LINDELL,
  FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants.


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